Case 2:18-cv-07241-CAS-PLA Document 19-7 Filed 09/17/18 Page 1 of 13 Page ID #:270




                   Exhibit 7
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page21of12
                                                                 of 13 PagelD  : 515
                                                                       Page ID##:271




                               AGREEMENT AND DECLARATION OF TRUST

                                                  AFM and SAG-AFTRA
                                    l ntellectual Property Righ ts Distribution Fund

                                                       Est ablished
                                                    September 16, 1998

                                                  Am ended a n d Restated
                                                        Ju ly   2~,   2012


                      THIS AGREEMENT AND DECLARATION OF TRUST is made and entered into as
              of the 16t.1i day of September, 1998, and is amended and restated as of July 26, 2012, in the City
              ofNew Yori<, State of New York, by and between the American Federation ofMusicians orthe
              United States and Canada, AFL-CIO-CLC ("AFM") and the Screen Actors Guild - American
              Federation of Television and Radio Artists ("SAG-AFTRA"), hereinafter jointly known as the
              Unions.

                                                           Pream ble

                      WHEREAS, this Agreement and Declaration of Trust was originally established as
              of the 16'~ day of September, 1998, in the City ofNew York, State ofNew York, by and
              between the AFM and tlte American Federation of Television and Radio Artists ("AFTRA");
              and

                     WHEREAS AFTRA merged with the Screen Actors Guild ("SAG") effective March
              2012, and the merged unions are now constituted as SAG-AFTRA; and
                      WHEREAS, the Trustees now desire to amend and restate the Agreement and
              Declaration of Trust to reflect the merger of AFTRA into the merged union SAG-AFTRA, as
              well as to inco1porate other amendments that the Trustees have made from time to time; and

                      WHEREAS, the Unions or their designated entities obtain and distribute to artists
              royahies and rc1mmeration that are created by U.S. or foreign law and that are appropriate for
              collective administration; and

                         WHEREAS, the Unions have entered .into a Reciprocal Agreement and an Annex for
               the Distribution ofRecord Renllll Royalties Collected in Japan, pursuant to which they will
               receive and distribute record rental remuneration payable to non-featured instrumentalists
             ._ai.id_v.ocalists lUJder .the law_of Japan; and

                        WHEREAS, the Unions have entered into other such agreements for the receipt and
              distribution of royalties or remuneration for the benefit of their members und other performing
              arti.~ts in the United States and Canada, and will continue to enter into such agreements; and


                    WHEREAS, to accomplish this plll'pose the Unions established a trust fund known as
              the AFM and AFTRA Intellectual Property Rights Distribution fund for receiving and




                   EXHIBIT A
    PLAINTIFFS' SECOND AMENDED COMPLAINT
     1:17-cv-00372-RRM-RM L ·Document
Case 2:18-cv-07241-CAS-PLA    Document19-7
                                       48-1 Filed
                                             Filed09/17/18
                                                   02/07/18 Page
                                                             Page32ofof13
                                                                        12 PagelD  : 516
                                                                           Page ID##:272




               distributing royalties aud remuneration; and

                     WHEREAS, the trnst f\.md fo1merly known as the AFM and AfTRA lntellectm1l Property
              Rights Distribution Fund shaU now be known as the AT-'M and SAG-AFTRA Intellectual
              Property !Rights Distribution Fund; and

                        WHEREAS, the Unions desire to restate the teims and conditions under which the said
             __ cFund·is·to· be-established-and adlllinistercd;·      - ·· -------·- -- ---- - - ----·-· - · - ·- -----

                      NOW, TIIEREFORE, in consideration oftlie premises, it is mutually understood
               and agreed as follows:
                                                              Article T
                                                             Definitions

               Section 1. UNIONS. The term "Unions" as used herein shall mean the American
               Federation of the Musicians of the United States and Canada, AFL-CIO-CLC, and the Screen
               Actors' Guild - American Federation of Television and Radio A11ists.

               Section 2. AFM. The term "AFM" as used herein shall mcan the American Federation of
               Musicians of the United States and Canada, AFL-CIO-CLC.

               Section 3. SAG-AFTRA. The t enn "SAG-AFTRA" a~ used herein shall mean the Screen Actors
               Guild - American Federation of Television and Radio Artists, or, prior to March 2012, the
               American Federation of Television and Radio Artists.

               Section 4. AGREEMENT AND DECLARATION OF TRUST. The term "Agreement and
               Declaration ofT11.1st" as used herein shall mean this instrument including any amendments bereto and
               modifications hereof.

               Section 5. FUND. The tenu "Ftmd" as used herein shall mean tb.e AFM and SAG-AFJRA
               Intellectual Property Rights Distribution Ftuid.

               Section 6. AGREEMENT FOR THE RECcLPT AND DISTIUBUHON OF REMUNERATION. The
               tenn "agreement for the. receipt and distribution ofre11111neration" as used herein sha11 mean any
               agreement entered into by the AFM, SAG-AFTRA or the Unions with a collecting society, 1ighls
               organization or other appropriate entity to receive royalties or remuneration held by that entity and to
               distribute such royalties and remuneration to eligible rutists.
               Section 7. ARTISTS. The terrn "artists" as u8ed herein shall mean instrnmental musicians aud
               vocalists.

                                                             Article  n
                                                          Creation ofFund

               Section I. ESTABLISHMENT OF FUND. The AFM aud AFI'RA Intellectual Property Rights
               Distribution Fund, which was established on September 16, 1998. is hereby mnended and restated as
               the AFM and SAG-AFfRA Intellectual Property Rights Distribution Fund, to be used for the

                                                                  2
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page43of12
                                                                 of 13 PagelD  : 517
                                                                       Page ID##:273




              purpose set forth in tl1is Agreemeot and Declaration ofTn1sl.

              Section 2. GENERAL PURPOSE. Tue FtUld shall be a trust fund and shall be used for the pw-p0se
              ofreceiving and distributing royalties or remuneration to a11ists in accordance with such agreemenls for
              receipt and distribution ofremuneration as are entered into by the Unions with the relevant collecting
              societies, rights organizations or other appropriate entities. The Fund shall further provide the means for
              financing the expenses of the Trustees and the opemtion and administration of the Ftmd, in accordance
              with this-Agreement and Declaration ·ofTnist.-Tue·Fundisintcnded·to·satisfy1lre-requirementrnf"Sc-criorr---· - -·
              50l(c)(6) oftbe Internal Revenue Code and shall be constmed in all respects consistently with section
              501 (c)(6).

                                                                Article lLI
                                                                Trnstees

              Section I. AFM AND SAG-AFT.RA JRUS'TEES. The operatfon and administration of the Fund
              shall be the joint responsibility of six Trustees, three appointed by the AFM, ofwhich no fewer than
              one shall ibe a raak-aud-file representative, and three appointed by SAG-AFJRA, of which no fewer than
              Olle shall bea rank-and-file representative.

               Section 2·. TERM OF TRUSTEES. Each Trustee shaU continue to serve as such until his or her
               death, incapacity, resignation, or removal by the appointing Union. Each Union may remove or
               replace i!s Trnstee at will.
               Section 3. SUCCESSOR1RUSTEES. Each Union shall appoint its succe.s.~or Trustees.

               Section 4. FORM OF NOTIFICATION. ln case any Trustee shall be removed, replaced, or
               succeeded, a statement in wiiting by the relevant Onion shall be sufficient evidence of its action,
               when forwarded to the Fund and to the remaining Trn&'lees. Any resignation shall be evidenced in
               writing and forwarded by registered mail to the Fund and the remaining Trustees, and shall not be
               effective for two months following the date of mailing unless a successor Trustee has been
               appointed

                                                            Article TV
                                           Powers, Dut ies and Obligations of Trustees

               Section 1. PROPERTY AND ASSISTANCE. The Trustees are authorized and empowered to lease or
               purchase such premise.~, materials, supplies and equipment, and to hire, employ and retain such legal
               counsel, investment advisor, adroinislrative, accounling, uctuarial, clerical and other assistants or
               employees as in their discretion they may findneccssruy or appropriate in the pcrfo1Jllllnce oftheir duties.

            . . Section 2. CONST.RUCTION OF AGREEMENT. Tue Trnstees shall have power to constn1e the
                provisions of this Agreement and Declaration ofTrust and the tenns used herein, ru1d any construction.
                adopted by1he Trustees in good faith shall be binding upon !he AFM, SAG-AFTRA, and artists claiming
                benefits llll.der the Fund.

               Section 3. GENERAL POWERS. The Tmstees are hereby empowered, in addition to other such powers
               as are set fo1th herein or conferred by law:


                                                                     3
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page54ofof13
                                                                       12 PagelD  : 518
                                                                          Page ID##:274




                    A.         To establish and achniuister the Fund on behalf of artists who may be entitled to payments
                               pllrsuant to agreerneots for the receipt and distribution of remuneration entered
                               into by the AFM, SAG-AFTRA or the Unions and determined by the Trustees to
                               be appropriate fo1- admiuislrntion by the Fund.

                       B.         As to each agTeement for the l·cccipt and dishibution of remuneration
       _ --·- - -·--·· ·-· -- ·-·_!~CO~l_!l.l'.!1Ee~_liy_t~~A.£.tvl, S~G-A~_Qr ,!he UJ)ions, to_decidewhi<¢.~r_ornQtt9___ _
                                  administer tbe agreement through the Fund,.

                    C.         As to eacb agreement for tbe receipt and distribution-ofrenmneratiou which is to be
                               administered through the Fund, to establish governing rnles and procedures for the
                               distribution that are consistent with the relevant agi:eement.

                    D.         As to each agreement for the receipt and distribution of remuneration which is to
                               be adminfatered through the Fund, to pay all expenses necessary to the establishment,
                               administration and operation of the agreement out of the receipts generated by the
                               agreement.

                    E.         To enter into any and all contracts and agreements for carrying out the tenus of this
                               Agreement and Declaration of Trust and for the administration of the Fund and do all
                               acts as they, in their discretion, may deem necessaty and advisable.

                    F.         To compromise, settle, arbitrate, and release claims or demands in favor ofor against
                               the Fund or the Trustees on such tenus and conditions as the Trustees may deem
                               advisable.

                    G.         To establish and accumulate as pa1t of the Fund a reserve or re.~erves, adequate, in tl1e
                               opinion of the Trustees, to carry out the purposes of the }"und.

                    H.         To pay out of the Fund all real and perSoaal properly taxes, income taxes and other
                               taxes of any and all kinds levied or assessed under existing or future laws upon or in
                               respect to the Fund or any money, property, or secu1ities fonning a part thereof.

                     I.        To make appropriate allocations of common administrative expenses and
                               disbursements shared or to be shared with any other Plan or Fund, or among the various
                               agreements for the receipt and disttibution of remuneration.

                     J.        To receive contributions, pa)~nents, disbibutions or transfers from any source whatsoever
                               to the extentpe1mitted by law.

                   ·· K. -      T6 establish'advisory committees coniposeCIOf A'FM a11d SAG-AFTRA ·
                                representatives and/or other artists or artists' representatives, and to set forth the
                                duties and functions of the members of such advisory committees.

                     L          To do all acts, whether or not expressly authori~ed herein, which the Trustees
                                may deem necessary or proper for the protectiort of the property held hereunder.


                                                                       4
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page65ofof13
                                                                       12 PagelD  : 519
                                                                          Page ID##:275




                 M            To establish such baitk account or acco1mts as the Trustees deem necessary in
                              their discretion, including escrow accounts pending the adoption of distribution
                              roles gove111ing the administration of an agreement for the receipt and
                              distribmion ofremuneration.

                 N.             To do all acts, whether or not expressly authorized herein, which the Trustees may
                                deem necessa1y to accomplish the general objective of distribnting remn11eration to
            ...- · · -..-·------eiigiGlerufis!S in 'tl1e most effii:leiifan_d.eooii'oiiilcal uianner... ·-- · ------··- · · .. ......... ____

                 0.           To purchase or obtain from.the AFM, SAG-AF1RA, tho AFM and Employers'
                              Pension Fund, the A rm.A Health and Retirement Funds, the Phonogrnp h
                              Manufacturers' Special Payments Fund, the Motion Picture Special Payments
                              Fund or any commercial source any data helpful for the identification and
                              location of artists eligible for rem1meration or the identification of recorded or
                              other performances covered by an agreement for the receipt and distribution of
                              remuneration.

                 P.             To invest the assets of the Fund with care, skill, prudence and diligence under
                               circumstnnces then prevailing that a prudent person, acting in a like capacity and
                               familiar with such matters, would use in the conduct of au enterprise of a like
                               character and with such aims, without regard to state law restrictions on
                               investments.

                Section 4. COMPENSATION. The Trustees shall not receive compensation for the
                perfonnance of their duties.                     ·                                                                      '·
                Section 5. PERSONAL LIABILITY. Neither the Trustees nor any individual or successor ·
                Trustee shall be personally answerable or personally liable for any liabilities or debts of the
                F\md contracted by them as Trustees, or for the non-fulfillment of conlrncts, but the same
                shall be paid o\lt of the Fund and the Fund is hereby charged with a first lien in favor of such
                Trustee for indemnification for any amounts paid 011t by any such Trustee for any such liability
                and for indemnification against any liability of any kind which the Tmstees or any of them may
                incur hereunder; provided, however, !bat nothing herein shall. exempt any Trustee fro01 liability
                arising out of his own wi11ful misconduct, bad faith or gross negligence, or entitle such Trustee to
                indemnification for any amounts paid or incurred as a result thereof.

                        The Trustees and each individual Trustee shall not be liable for any error ofjudgment
                or for any loss arising out of any act or .omission in the execution of their duties so long as
                they act in good faith and wit:hout gross negligence; nor sha]l any Trustee, in the absenct of his
                own willful misconduct, bad faith or gross negligence, be personally liable for the acts or
                omissions (whether performed at th·e req\iesfofihe "Iiustees or not) of any other Trustee, or of .
                any agen1 or attorney elected or appointed by or acting for the Trustees.

                         The Tmstees shall be fully protected in acting upon any instnunent, certificate, or paper
                believed by them to be genuine and to be signed or presented by the proper person or persons, and shall
                be under no duty to make any investigation or inquity as to any statement contained in any such writing,
                but may accept the smne as conclusive evidence of the tmth and accuracy of the statements contained
                therein.
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     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page76ofof13
                                                                       12 PagelD  : 520
                                                                          Page ID##:276




                     Neiti1er the AFM nor SAG-AFTRA shall in any way be liable in any respect for any oflhc
              acts, omissions or oblignlions ofit.he Tmslees, individually or collectively.

                     llle Trustees may frorn time to time consult with legal counsel and shall be follyprntected in acting
              upon such advice ofcounsel to the Fund as respects legal questions.

              Section 6. BOOKS OF ACCOUNT. The Trustees shall keep tmc and accw11tc books of accounl
              (Jnd rJ!c.Qra;!s_Qf_aJ! lli.eit.tmns.al<!i.ons,..>Yhicluh.all be.audited at least annually_by.a cc1tified public.
              accountant selected by the Trustees. Such audits shall be available at all times for inspection
              by the AFM and SAG-AFTRA.
              Section T. EXECUTION OF DOCUMENTS. The Trustees may authorize and designate an
              employee or agent of the Fund to execute any notice or other inslrnment in writing.

              Section 8. DEPOSlT AND V/ITHDRA WAL OF RINDS. All moneys received by the Trustees
              hereunder shall be deposited by them in such bank or banks as the Trustees may <lc::signatc for
              that purpose, and all withdrawals of moneys from such account or accounts shall be made only
              by checks signed by the Trnstees, except that the Trustees may, in their discretion, designate
              and authorize an employee or agent of the Fund to sign checks upon such separate and
              specific bank account or bank accounts as the Trustees may desigi1ate ruid establish for such
              purpose.

              Section 9. SURETY BONDS. The Twslees and any employees of the Trustees who are
              empowered and authorized to sign checks as aforesaid shall each be bonded by a duly
              authorized surety company in such amounts as may be determined from time to time by the
              Trustees. Each such employee employed by the Trustees who may be engaged in handling
              moneys of the Trnst Fund shall also be bonded by n duly authorized surety company in the
              same manner. The cost of the premium on such bouds shall be paid out of the Fund.

                                                                 A r ticle V
                             Selection of Remuneration Systems tori~ Administered by the Fund

              Seelion I. ACCEPTANCE FOR ADMJNISTRATION THROUGH Tl::IE FUND. As to c::ach
              agreement for the receipt and distribution of remuneration entered into by the AFM, SAG-
              AFTRA, or the Unions jointly, and refen-ed by one oftllem to the Trustees for the.ir
              consideration, the Trustees, in their sole discretion, may decide whether or not the agreement is
              appropriate for administration through the Fund. An agreement will be accepted for
              administration through the Fund only if the:: Trustees, voling in accordance with A1ticle VII,
              Section 3, agree to accept it. The refusal of the AFM or SAG-AFI'RA to accept an agreement for
              administration by the Fund shall not be su~ject to arbibation. TI1e acceptance ofan agreement for
              administration·by·the Fund shall be-in writing.-
              Section 2. HOLDING MONEY PENDING ACCEPTANCE FOR ADMINISTRATION. The
               Fl.ind may hold moneys received pursuant to an agreement for the receipt and distribution ofremuneration
              in an escrow account pending the Tm~tecs' decision whether to accept the agreement for administration
              through tbe Fund. lfthe Trustees refuse acceptance, the moneys will be returned with any interest
               accwnulated thereon and minus any adminisirative costs incurred to the AFM, SAG-AFTRA or the Unions
              jointly in accordance with the agreement for the receipt and disi11bution of remuneration.

                                                                      6
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page87ofof13
                                                                       12 PagelD  : 521
                                                                          Page ID##:277




                   Section 3. CONTINUATlON OF ADMJNlSTRATION. Onr.,e an agreement for the receipt and
                   distdbution ofremunerntion has been accepted for administration through the Fnnd, it shall
                   continue to be administered through the Fund w1til such time as the Trustees, voting in accordance
                   with Article VII, Section, 3, agree that such administration i!: ·no longer approp1iatc. IftJ1e
                   Trnstees, voting in accordance with Article Vil, Section 3, disagree over whether continued
                   administration is appropriate, lbey will attempt to resolve their difference on the matter. Tfthey
                   cannot resolve their difference on the matter, they agree to submit the dispute to mediation
          - - · - ·adilliiiiSteredoy tlfe"Aiiierican Aibifration71.-ssociali"oi=t:Jf ii1ediaiiori Jails toresOl've the dispute, the
                   agreement for the receipt and distribution of remuneration shall be discontinued for adminislration
                   through tlte Fund upon the vote of the Trnstees for one Union, voting in accordance with Article VII,
                   Section 3.
                                                                  Article VI
                                                      Plan of Payments and Distribu!ions

                  Section 1. PAYMENTS. Tbe.Trnstees shnll have full authority to determine all questions of
                  the nature and amount of pa)1nents to be provided to rutists consistent with the relevant agreements
                  for the receipt and distribution or remuneration.
                  Section 2. EUGIBlLlTY FOR PAYMENTS. The Trustees shall have full authority to dete1mine
                  eligibility requirements for payments, consistentwith the relevant agreements for the receipt and
                  distribution of rermmeration, and to adopt rules aud regulations setting forth the same, which shal I
                  be binding on the artists.
                   Section 3. METHOD OF PROVIDING PAYMENTS. The payments shall be provided ru1d
                   maintained by such means as the Trnstees in their sole discretion shall determine.

                   Section 4. WRlTTEN PLAN OF PAYMENTS AND DISTIUBUTIONS. The detailed basis upon
                   which payments are to be made pursuant to each agreement for the receipt and distribution of
                   remuneration sba.11 be specified in writing hy appropriate action of the T1ustees subject, however,
                   to such changes or modifications by the Trustees from time to time as they in their discretion may
                   determine. All such changes or modifications shall similarly be specified in writing by appropriate
                   resolntion of the Trustees.
                   Section 5. DETERMINING CLAIMS FOR PAYMENTS. TI1e Trustees shall have full authority to
                   determine all claims for payments, provided that they may delegate to the duly designated
                   administrators of the Fund authority to detcm1inc such claims initially. The administrators' initial
                   dete1mination sl1all be s11bmitted to the Trustees for final determination. An individual who
                   believes that he or she has been adversely affected by the administrators' or Tmstees'
                   detenuinations regarding paymt:nt of benefits may submit a written appeal to !he Trustees. The
                   decision
                     . .     of the...Trustees shall be final.


                                                                 Article VU
                                                       Meetings and Decision of Trustees

                   Section 1. °MEETING OF TRUSTEES. Meetings of the Trustees shall be held at such place or
                   places as may be agreed upon by the Tmstees.

                                                                           7
     1:17-cv-00372-RRM-RM L Document
Case 2:18-cv-07241-CAS-PLA   Document19-7
                                      48-1 Filed
                                            Filed09/17/18
                                                  02/07/18 Page
                                                            Page98ofof13
                                                                       12 PagelD  : 522
                                                                          Page ID##:278




              Section 2. ACTION BY TRUSTEES WlTHOUT MEETING. The Trustees may uJso tllke action in
              writing without a meeting.

              Section 3. AGREEMENT OF THE TRUSTEES. All actions of the Trnstees shall be by
              agreement, with the AFM Trnstees casting one vote, and the SAG-AfTRA Trustees casting one vote. Tn .
              the event that any matter presented for decision canuot be decided because of a failure of agreement, the
              matter may be submitted for arbin·ation in accordance with Article VI JJ.

              Section 4. MINUTES OF MEETINGS. The Tmstees shall keep minutes of all meetings but such
              minutes need not be verbatim.

                                                              Article vm
                                                              Arbitration

              Section I. APPLICATION OF THIS ARTICLE. A Trustee may apply to the.American Arbitration
              Assocfation in the area where the Fund maintains its principal office for the designation of an ru.bitrator
              who will decide any disputes bel\'l'een the Trustees or any other matter submitted to arbitration in
              accordance with the provi~ions ofArticle VIT, Section 3. The decision of the arbirrator shall be final
              and binding. Decisions to accept an agreement for the receipt and disaibution of remuneration for
              administration tluough the Fund, pursuant to Article V, Section l, shall not be subject to arbitration.
              Section 2. EXPENSES OF ARBITRATION. The cost and expense incidental to any arbitration
              proceeding, including the fee, ifany, of the impartial arbitrator, shall be a proper charge agaiIL~t the
               Fuod and the Tmstees are authorized and directed to pay such charges.


                                                               Article IX
                                                    Execution ofTrust Agreement

               Section J_ COUNTERPARTS. '!bis Tmst Agreement may be execnte in counterpa1ts.

                                                               ArticlcX
                                                   Amendment to Trust Agreement
               Section 1. AMENDMENT BY TRUSTEES. This Agreement and Declaration of T1ust may be
               amended in any respect from time to time by the Trustees, provided that eacb amendment shall be duly
               executed io writing by the Trustees and annexed hereto. The Trustees shall have full discretion to fix the
               effective date of nny amendment.
                                                            Article XI
                                                        Termination of Trust
                    .          ..   ...   ......        .
                Section 1. BY THE TRUSTEES. Th.is Agreement and Declaration ofTrnst may be tenuinated
              · by an insmunent in writing executed by the Trustees when tltere is no longer in force and effect
                an agreement for the receipt and distribution of remuneration which is accepted for
                administration by the Fund.

              .Section 2. PROCEDURE ON TERMJNATION. In the event of the tenninationofthis Agreement
               and Declaration of Trnst, the Trnstees shall apply the Fund to pay or to provide for !he payment

                                                                    8
Case 1:17-cv-00372-RRM-RM
  Case                    L Document
       2:18-cv-07241-CAS-PLA Document48-1
                                      19-7 Filed
                                            Filed02/07/18
                                                  09/17/18 Page
                                                            Page9 10
                                                                  of 12 PagelD
                                                                     of 13         523
                                                                           Page# :ID
                                                                      #:279




               or any an<l all obligations ofthe Fund and shall distTibute and apply any remaining sw13lus .in such
                a manner as will in their opinion best effectuate the purpose of the fund; provided, however, that
                no part of the corpus or income of said .Fwid shall be used for or diverted to pw·poses other lhan
                for the benefit of the artists eligible for benefits under the agreements for the receipt and
                distribution of remuneration administered by the Fund, or the administrative expenses of the
              · Fund or other payments in accordance with the provisions of the Fund.

            . -·-section 3~· NOTIFICATION OF TERMINATION":· UfX'.ilfW'finifaflonoftheFtino;'tliellii'stees
               sb.all notify each necessary party, and the Tmstees shall continue as Trnstccs for the purpose of
               winding up the affairs of the Trust.                                      ·

                                                                Article XII
                                                          Miscellaneous Provisions

               Section 1. GOVERNING LAW. This Agreement and Declaration of Trust shall be construed
               under the laws of the State of New York applicable to contracts made and to be perfonned within
               the County and State of New York (without regard to any conflict of laws provision), and venue
               for any dispute arising under this Agreement and Declaration of Trust shall be in New York.

               Section 2. NOTIFICATION TO TRUSTEES. The address of each of the Tmstees shall be that stated
               on the signature page ofthis Agreement and Declaration of Trust. Any change of address shall be effected
               by written notice to the Trustees.
               Seclion 3. SEVERABILI1Y. Should any provision in this Trust Agreement or in the rules and regulations
               adopted iliereunder be deemed or held to be w:tlawfttl or invalid for any reason, such fact shall not
               adversely affect the provisions contained therein tmlcss such illegality shall make impossible or impractical
               lhe fwictioning of the 'liust and the Plan, and in such case the appropriate parties shall immediately adopt a
               new provi:sion to take the place oftl1e illegal or invalid provision.

               Section 4. VESTED RIGHTS. No rutist or ru.1y person claiming by or through such rutist, including !lie
               aitist's family, dependents, beneficiary and/or legal representative, Shall have any righ~ title or inteiest in or to
               the Fund nr any property ofthe F\md or any part thereofexcept as may be specifically detennined by the
               Tn.tstees.

               Section 5. ENCUMBRANCE OF PAYMENTS. No moneys, prope1ty or equity, of any nature
               whatsoever, in the Fund, or polic.ies or benefits or moneys payable.therefrom, shall be subject
               in any manner by any artist or person clain1ing through such artist to anticipation, alienation, sale,
               transfer, assignment, pledge, encumbrance, garnishment, mortgage, lien or charge, and any
               attempt to cause the same to be subject thereto shall be null and void.

               Section 6. EXPENSES 'OF THE TRUSTEES. All expenses of the Trustees incurred in the
               perfo1mance of their duties may be chargeable to the Fund at the discretion of the Trustees. All
               other expenses incurred pursuant to Article IV hereof shall be paid by the Fund.

               Sec/ion 7. NO EMPLOYER CONTRlBUTIONS PERMITTED. The Fw1d shall not accept
               contributions from any employer or association of employers who employ artists represented by the AFM or
               SAG-AFrRA, WJd shall not enter into agreements for the receipt and disnibution ofremuneration with

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                 such employers or associations of employers.



                 IN WITNESS HEREOF, in accordance with Article X, the Trustees sign this Agreement and
                 Declaration of Trust, which amends and restates the original agreement and declaration of trust. The
                 Trustees, by affixing their signatures at the end of1his Agreement and Declaration of Trust., agree to
                 accept the trusteeship and act in their capacity strictly in accordance with the provisions oft11is
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                 Raymond M. Hair, Jr., AFM           Date                      Duncan Crabtree-Ireland, SAG-AFTRA         Date
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                 New York, NY 10036                                            Los Angeles, CA 90036




                 Sam Folio, AFM                      Date                      Stefanie Taub, SAG-AFTRA                  Date
                 1501 Broadway, Suite 600                                      5757 Wilshire Boulevard, 7°' Floor
                 New York,.NY 10036                                            Los Angeles, CA 90036



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                 1501 Broadway, Suite 600
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                   accept the trusteeship and act in their capacity strictly in accordance with thll provisions ofthis
                  Agreement and Declaration of Trust.




                  Raymond M. Hair, Jr., AFM         -15;1e-                  Duncan Crabtree-Ireland, SAG-AVi'RA Date
                  l 50J Broadway, Suite 600                                  5757 Wilshire Boulevard, 7111 Floor
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                  Bnice B"auton, AFM                     Date                Jon Joyce, SAG-AFTRA                      Date
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             Raymond M. Hair, Jr., AFM             ate               Dw1can Crabtree-Ireland, SAG-AFTRA Date
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             New York, NY 10036
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                                                                     Los Angeles, CA 90036




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